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                                   Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 1 of 10
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     (b) County of Residence of First Listed P i t ·                        .. ~ .. ..,~.., • ... ~ ..,..,..,,. • ,___          ounty of Residence ofFirst Listed D~ant                        GENESSEE
                                   (EXCEPT IN U.S.         pl         .... I A ......                                                              (IN U.S. PLAINT ~ISES 6'N£!~
                                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                               Attorneys (If Known)
 Swartz Culleton - Brandon A. Swartz- 215-550-6553
 547 E Washington Ave
 Newtown, PA 18940

II. BASIS OF JURISDICTION (Ptacean "X"inOneBoxOnly)                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                         (For Diversity Cases O~                                                  and One Box for Defendant)
0 1 U.S. Government                      0 3 Federal Question                                                                                                   DEF                                              PTF      DEF

                                   ~i::.:overnment Not a Party)
             Plaintiff                                                                                          Citizen of This State                IX       (!)Incorporated or Principal Place                    0 4         0 4
                                                                                                                                                                       of Business In This State

0 2 U.S. Government                                                                                             Citizen of Another State             0 2        l:!I:   2   Incorporated and Principal Place        0 5         0 5
             Defendant            (_/"'(Indicate Citizenship ofParties in Item Ill)                                                                                            of Business In Another State

                                                                                                                                                     0 3        0       3   Foreign Nation                          0 6        Cl 6

IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                Click here for: Nature of Suit Code Descriotions.
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0    110 Insurance                         PERSONAL INJURY                        PERSONAL INJURY               0 625 Drug Related Seizure                Cl 422 Appeal 28 USC 158               Cl 375 False Claims Act
0    120Marine                          Cl 310Airplane                         Cl 365Personallnjury -                     ofProperty21 USC881             Cl 423Withdrawal                       Cl 376QuiTam(31 USC
0    130 Miller Act                     0 315 Airplane Product                       'Product Liability         0 690 Other                                         28 USC 157                             3729(a))
0    140 Negotiable Instrument                Liability                        0 367 Health Carel                                                                                                0    400 State Reapportionment
0    150 Recovery of Overpayment        0 320 Assault, Libel &                       Pharmaceutical                                                                                              0    410 Antitrust
         & Enforcement of Judgment            Slander                                Personal Injury                                                      Cl 820 Copyrights                      Cl   430 Banks and Banking
0    151 Medicare Act                   0 30 Federal Employers'                      Product Liability                                                    Cl 830 Patent                          0    450 Commerce
0    152 Recovery of Defaulted                Liability                        0 368 Asbestos Personal                                                    0 835 Patent-Abbreviated               0    460 Deportation
         Student Loans                     340 arine                                  Injury Product                                                                New Drug Application         0    470 Racketeer Influenced and
         (Excludes Veterans)               345 arine Product                          Liability                                                           Cl 840 Trademark                                Corrupt Organizations
0    153 Recovery ofOverpayme                   iability                         PERSONAL PROPERTY                                                                "          " I·                Cl   480 Consumer Credit
         of Veteran's Benefits          ~ 35 Motor Vehicle                     0 370 Other Fraud                0 710 Fair Labor Standards                0   861 HIA (1395ff)                   0    490 Cable/Sat TV
0    160 Stockholders' Suits                                                   0 371 Truth in Lending                     Act                             0   862 Black Lung (923)               0    850 Securities/Commodities/
0    190 Other Contract                       Product Liability                0 380 Other Personal             Cl 720 Labor/Management                   0   863 DIWC/DIWW (405(g))                      Exchange
0    195 Contract Product Liability       360 Other Personal                         Property Damage                      Relations                       0   864 SSID Title XVI                 0    890 Other Statutory Actions
Cl   196 Franchise                            Injury                           0 385 Property Damage            0 740 Railway Labor Act                   0   865 RSI (405(g))                   0    891 Agricultural Acts
                                        0 362 Personal Injury -                      Product Liability          0 751 Family and Medical                                                         0    893 Environmental Matters
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l2i< REAL PR0~.EIR'&Y , :74,;i m!lil'.Jl~ Glli1S                                                               , 0 790 Other Labor Litigation                  b1i!RAliilr1'iMC, trrlTSi'$\li;C:;         Act
0 210 Land Condemnation        0 440 Other Civil Rights                            Habeas Corpus:                0 791 Employee Retirement                0 870 Taxes (U.S. Plaintiff             0   896 Arbitration
0 220 Foreclosure              0 441 Voting                                    0   463 Alien Detainee                     Income Security Act                    or Defendant)                    0   899 Administrative Procedure
0 230 Rent Lease & Ejectment   0 442 Employment                                0   510 Motions to Vacate                                                  0 871 IRS-Third Party                           Act/Review or Appeal of
0 240 Torts to Land            Cl 443 Housing/                                         Sentence                                                                     26 USC 7609                           Agency Decision
0 245 Tort Product Liability          Accommodations                           0   530 General                                                                                                   Cl   950 Constitutionality of
0 290 All Other Real Property  Cl 445 Amer. w/Disabilities -                   0   535 Death Penalty                                                                                                      State Statutes
                                                    Employment                      Oth~r:                      0 462 Naturalization Application
                                        Cl 446 Amer. w/Disabilities - 0            540 Mandamus & Other         0 465 Other Immigration
                                               Other                  0            550 Civil Rights                       Actions
                                        Cl 448 Education              Cl           555 Prison Condition
                                                                      0            560 Civil Detainee -
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V. ORIGIN (Placean              "X"inOneBoxOnly)
0 I        Original         0 2 Removed from                      0    3      Remanded from              0 4 Reinstated or            0 5 Transferred from                  0 6 Multidistrict               0 8 Multidistrict
           Proceeding           State Court                                   Appellate Court                   Reopened                  Another District                      Litigation -                    Litigation -
                                                                                                                                           (speci.fY)                           Transfer                        Direct File
                                                  Cite the U.S. Civil Statute under which you are filing (Do not citejurlsdlctlonal statutes unless diversity):
                                                  28   use 1332
VI. CAUSE OF ACTION                               Brief description of cause:
                                                  motor vehicle accident
VII. REQUESTED IN     0                             CHECK IF THIS IS A CLASS ACTION                                DEMAND$                                              CHECK YES only if demanded in complaint:
     COMPLAINT:                                        UNDER RULE 23, F.R.Cv.P.                                                                                         JURY DEMAND:                    0 Yes       ONo
VIII. RELATED CASE(S)
      IF ANY
                                                     (See instructions):
                                                                               JUDGE                                                                          DOCKET NUMBER                U1J          25 20171
DATE
10/20/2017
FOR OFFICE USE ONLY

     RECEIPT#                      AMOUNT                                                                                               JUDGE                                      MAG.JUDGE
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     Address of l'lui iff:3 ··.   oachman Road, Wilmington, DE 19803
     Address ofDefcndant:4035               Jimbo Drive, Burton, Ml                  48529

     Place of Accident, Tncident or Transaclion:New Garden Township, PA
                                              ·~~~~-"-~:..,;;..;.;..:_:=,(U.~~=c~R~e~ve=1=~e~S~i~de-;;:Fo~1~·A7d7~~il~w-11-al~S~p-ac-~~)~~~~~~~~~~~~~~~~~~~-

     Does this civil action involve u nongovernmcnlal corporate party with any parent corporation nnd any publicly held corporation owning 10% or more of its stock?
      (Attuch two copies of the Disclosure Statement Farm in accordance with Fed.R.Civ.P.                   7. I(a))                                YesO         No~

 Does this ense involve multidistrict litig<ltian possibilities?                                                                                    YcsD         Nol:EJ
 Rl!LATED CASE, IF ANY;
 Case Number;                                                               Judge                                      Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - -

 Civil cases are deemed related when yes is answered to any of the following questions:

     I. Is this case related to property included in an earlier numbered suit pending or within one year previously tcrminutcd action in this court'!
                                                                                                                                YeJJ No0
 2. Does this case involve the snmc issue of fact or grow 01tt ofdte same tmnsacdo11 as a prior suit pending or within one yenr previously rerminuted
    net ion in this court?
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 3. Does this case involve the validity or infringement of11 patent uh-eucly in suit or any earlier numbered euse pending or within one ycur previously
          terminutecl action in this court?                                                                                                        YesD          Naffi'J

 4.       rs this case a ~econd or successive habeas corpus, social security appeal, or pro se civil rights case tiled by the san1e individual?
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 CIVIL: (Place V in ONE CATEGOR. Y ONLY)
 A. Fetleml Question Cases:                                                                                              B. Diversity J11ris(/ic/io11 Ca.<es:
     l.    0   lndemuity Contract, Marine Contract, and All Other Contracls                                                 I.   0 Insurance Contract und Other Contracts
     2. 0FELA                                                                                                            2.      D Airplane Personal Injury
     3.    D Jones Act-Personal Injury                                                                                   3. 0        Assault, Defamation
 4. 0Antih-ust                                                                                                           4. 0        Marine Personal Injury
     5.   0 Patent                                                                                                       5. ~Motor Vehicle Personal Injury
 6.       D L~bor-Managemcnt Relations                                                                                                            6, D Other Personal Injury (Please
                                                                                                                                                  specify)
 7. D Civil Rights                                                                                                       7.      0   Prodi.1cts Liability
 8. D Habeas COIJ)US                                                                                                     8.      0   Products Liability -        Asbestos
 9. D Seci1rities Act(s) Cases                                                                                           9.      0   All other Diversity Cases
10.EJ Social Security Review Cases                                                                                                                           (Please specify)

11.D All other Federal Question Cases
               (Please specify)
                                                                                    ARBITRATION CERTIFICA TlON
                                                                                            (Check Appropriale ColegoiJ')
I,                                                            , counsel of record do hereby certify:
     O Pursuant to Local Civil Ruic 53.2, Section 3(c)(2), that to the best of my knawleclgc and belief, the llarnages n:cavernblc in this civil nction case exceed the sum of
$ t 50,000.00 exclusive of intel'cst und costs;
    D Relief other than monctal'y damages is sought.


DATE:~~~-~~-~~
                                                                                                                                                           Attorney l.D.#
                                                                                                             fthere has been compliance with r.R.C.P. 38.



except os noted nba,•e.

DAT!!:: 10/20/2017                                                                                                                               78344
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                                                      I~. THE UNITED STATES DISTRICT COURT
                                                    FORjHE EASTERN DISTRICT OF PENNSYLVANIA
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                                                    CASE MANAGEMENT TRACK DESIGNATION FORM
                               MICHAEL SOBIESKI
                                                                                                         TilACTIOaf 9 7 1
                                                      v.
                               BAY SHIPPERS LLC
                                                                                                         NO.

                 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
                 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
                 filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
                 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
                 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
                 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
                 to which that defendant believes the case should be assigned.

                 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

                 (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                          (Cl)
                 (b) Social Security - Cases requesting review of a decision of the Secretary of Health
                     and Human Services denying plaintiff Social Security Benefits.                                               (IJ)

                 (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.                   (CJD
                 (d) Asbestos - Cases involving claims for personal injury or property damage from
                     exposure to asbestos.                                                                                        ([J)

                 (e) Special Management - Cases that do not fall into tracks (a) through ( d) that are
                     commonly referred to as complex and that need special or intense management by
                     the court. (See reverse side of this form for a detailed explanation of special
                     management cases.)

                 (f) Standard Management- Cases that do not fall into any one of the other tracks.


                 10/20/2017

                 Date
                                                                          Brandon A. Swartz

                                                                              Attorney-at-law
                                                                                                Plaintiff, MICHAEL SOBIESKI

                                                                                                     Attorney for
                                                                                                                              8
                 215-550-6553                                             215-550-6557            bswartz@swartzculleton.com


                 Telephone                                                    FAX Number             E-Mail Address


                 (Civ. 660) 10/02




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                                   Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 4 of 10



                                   SWARTZ •                           CULLETON PC
Christopher J. Culleton
Esquire
Brandon A. Swartz
                                                                                              l '1        4971
Esquire
                                             October 20, 2017
Todd M. Pelzer
Esquire
Chairperson of the Workers                   United States District Court
Compensation Department
                                             Eastern District of Pennsylvania
Bryan M. Ferris                              Office of the Clerk of Court
Esquire
                                             601 Market Street, Room 2609
Joseph P. Guzzardo                           Philadelphia, PA 19106-1797
Esquire
Nicholas S. Jajko
Esquire
                                                            Re:    Michael Sobieski v. Bay Shippers LLC
Matthew E. Gallagher
Esquire                                      Dear Sir/Madam:
Larissa K. Staszkiw
Esquire
                                                     Enclosed for filing please find an original, a copy and a pdf on CD
Sarah R. Nayeem                              of plaintiffs Complaint. Please file the original Complaint and time
Esquire
                                             stamp the copy and return it in the self-addressed stamped envelope
Maria K. McGinty-Ferris
Esquire                                      enclosed herein.

Please reply to:
547 E. Washington Avenue                            Thank you for your time in this matter.
Newtown, PA 18940

Phone: 215.550.6553
Fax: 215.550.6557                                                                Very truly yours,
Website:
www.swartzculleton.com
Email:
cculleton@swartzculleton.com
bswartz@swartzculleton.com
tfelzer@swartzculleton.com
bferris@swartzculleton.com
jguzzardo@swartzculleton.com
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Istaszkiw@swartzculleton.com
snayeem@swartzculleton.com
mmcginty-ferris@swartzculleton.com           /erf
One Commerce Square                          Enclosures
2005 Market Street, 18th Floor
Philadelphia, PA 19103

The Sovereign Building, Suite 19
609 W. Hamilton Street
Allentown, PA 18101




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            lll )....... ·' · ·.· . IN TllE"UNiTED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     MICHAEL SOBIESKI
                                                                                 Civil Action No.
                                          Plaintiff,
              v.

     BAY SHIPPERS, LLC                                                                  17          497l
                                         Defendant.


                                                               CIVIL ACTION COMPLAINT
       I.     PARTIES

              1.          Plaintiff, Michael Sobieski, is an adult individual and citizen of the State of

     Delaware, residing therein at 3221 Coachman Road, Wilmington, DE 19803.

              2.          Defendant, Bay Shippers, LLC, was and is now a business entity, believed to be a

     limited liability company, duly organized and existing under the laws of the State of Michigan,

     with corporate headquarters and principal place of business located at 4035 Jimbo Drive, Burton,

     MI 48529. Defendant's members are citizens of the State of Michigan for purposes of diversity

     jurisdiction.

      II.     JURISDICTION AND VENUE

              3.          Jurisdiction is conferred upon this Court by virtue of the parties' diversity of

     citizenship pursuant to 28 U.S.C. § 1332.

              4.          The amount in controversy in this action is in excess of Seventy-Five Thousand

     ($75,000.00) dollars, exclusive of costs and fees.

              5.          Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a substantial

     part of the events or omissions giving rise to the within claims occurred within the District.
             Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 6 of 10




III.   STATEMENT OF CLAIM

       6.       At all times material herein, Defendant, Bay Shippers, LLC, owned, leased,

possessed, maintained, controlled and/or operated a certain 2007 Freightliner tractor trailer,

Michigan license plate #RB23778, which was involved in the motor vehicle accident hereinafter

described.

       7.       At all times pertinent hereto, Defendant, Bay Shippers, LLC, acted by and through

its agents, servants, employees, workmen and/or other representatives, including Brian

McGonigle, who were, in turn, acting within the course and scope of their employment, agency

and/or service for the same.

       8.       On or about September 26, 2016, Plaintiff, Michael Sobieski, was operating a

certain 2001 Navistar Eagle tractor trailer, Delaware license plate #CLl 13596, traveling

northbound on Gap Newport Pike at or about 8823 Gap Newport Pike, in New Garden Township

Pennsylvania, which was involved in the motor vehicle accident hereinafter described.

       9.       On or about September 26, 2016, Plaintiff Michael Sobieski was operating the

aforesaid tractor trailer, which was lawfully traveling northbound on Gap Newport Pike in New

Garden Township, Pennsylvania and had come to a complete stop when, suddenly and without

warning, the aforesaid tractor trailer operated by Brian McGonigle, acting within the course and

scope of his employment with Bay Shippers, LLC, and owned by Defendant Bay Shippers, LLC,

which was also traveling northbound on Gap Newport Pike in New Garden Township,

Pennsylvania, struck the rear of the vehicle which Plaintiff was operating with such force so as to

cause Plaintiff to sustain severe and permanent injuries as described more fully hereinafter.

       10.      The aforementioned motor vehicle accident was caused solely and exclusively by
              Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 7 of 10




reason of the negligence and carelessness of the Defendant and was due in no manner to any act

or failure to act on the part of the Plaintiff.

                                      COUNT I
                         MICHAEL SOBIESKI v. BAY SHIPPERS, LLC
                                    NEGLIGENCE

        11.      Plaintiff hereby incorporates by reference paragraphs one (1) through ten (10) of

the within Complaint as though the same were fully set forth at length herein.

        12.      The aforesaid motor vehicle accident was caused solely by the carelessness and

negligence of the Defendant, Bay Shippers, LLC, which consisted of the following:

        (a)      operating the aforesaid tractor trailer at a high and excessive rate of speed under the
                 circumstances;
        (b)      failing to have the aforesaid tractor trailer under proper and adequate control at the
                 time of the accident described herein;

        (c)      operating the aforesaid tractor trailer in an unsafe manner without due regard for
                 the rights and safety of those lawfully upon the highway, one of whom was the
                 Plaintiff, Michael Sobieski, more specifically failing to prevent his tractor trailer
                 from rear ending the tractor trailer which Plaintiff was operating;

        (d)      failing to give proper and sufficient warning of the approach of the aforesaid tractor
                 trailer;

        (e)      failing to maintain a proper lookout upon the highway;

        (f)      failing to regard the point and position of other vehicles upon the highway;

        (g)      failing to properly determine the distance between the two vehicles so as to avoid
                 a dangerous collision of the type that seriously injured the Plaintiff;

        (h)      operating a motor vehicle with disregard for the safety of persons upon the
                 highway;

        (i)      failing to prevent the aforesaid motor vehicle from striking the vehicle in which
                 Plaintiff was operating;

        G)       entrusting a motor vehicle to Brian McGonigle;
                Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 8 of 10




          (k)      failing to properly recognize prior accidents of its employees, such as Brian
                   McGonigle;

          (I)      failing to properly hire employees qualified to drive commercial vehicles;

          (m)      failing to properly train, monitor and supervise its employees;


          (n)      failing to train employees on proper driving safety;

          (o)      otherwise failing to exercise due and proper care under the circumstances; and

          (p)      violating various ordinances and statutes pertaining to the operation of motor
                   vehicles.
          13.      By reason of the aforesaid negligence of the Defendant, Plaintiff, Michael Sobieski,

has suffered severe and permanent injuries, including, but not limited to, lumbar disc herniation,

lumbosacral radiculitis, cervical sprain and strain, thoracic sprain and strain, lumbar sprain and

strain, and brachial neuritis, as well as aches, pains, mental anxiety and anguish, and a severe shock

to his entire nervous system. Plaintiff has in the past and will in the future undergo severe pain

and suffering as a result of which he has in the past and will in the future be unable to engage in

his usual activities, all to his great detriment and loss.

          14.      As a further result of the motor vehicle accident described herein, Plaintiff has been

or will be obliged to receive and undergo medical care and attention and to expend various sums

of money and to incur various expenses for the injuries which he suffered, and he may be obliged

to continue to expend such sums or incur such expenditures for an indefinite period of time in the

future.

          15.      As a further result of the motor vehicle accident described herein, Plaintiff has

suffered or may suffer a severe loss of his earnings and/or earning power, and he may incur such

loss for an indefinite period in the future.

          16.      As a direct and reasonable result of the aforementioned motor vehicle accident,
             Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 9 of 10




Plaintiff may hereafter incur other financial expenses or losses which do or may exceed the

amounts which he may otherwise be entitled to recover under and pursuant to the Pennsylvania

Motor Vehicle Financial Responsibility Law, 75 Pa. C.S. §1701 et. seq. as amended, for which he

claims damages herein.

        17.     Further, by reason of the aforesaid occurrence, Plaintiff has incurred and/or may

hereinafter incur other financial expenses all in an effort to treat and cure himself of the injuries

sustained in the aforesaid accident.

        18.     As a further result of the motor vehicle accident described herein, Plaintiff has or

may have suffered injuries resulting in the permanent loss of a use of a bodily function,

dismemberment, and/or scarring, which may be in full or part cosmetic disfigurements which are

or may be permanent, irreparable and severe.

        19.     As a further result of the motor vehicle accident described herein, Plaintiff has

suffered a loss of the enjoyment of his usual duties, avocations, life's pleasures and activities, and

the shortening of his life expectancy, all to his great detriment and loss.

       20.      As a further result of the aforesaid motor vehicle accident, Plaintiff has suffered

great physical pain, suffering and mental anguish, all of which may continue into the future.

       21.      Plaintiff in no manner contributed to his injuries, which were the direct and

proximate result of the Defendant's negligence and carelessness.

       22.      At all times relevant hereto, Plaintiff is and has been entitled to Full-Tort status

under the Pennsylvania Motor Vehicle Code.
         Case 2:17-cv-04971-PD Document 1 Filed 10/25/17 Page 10 of 10




   WHEREFORE, Plaintiff, Michael Sobieski, demands judgement against Defendant, Bay

Shippers, LLC, in an amount not in excess of One Hundred Fifty Thousand Dollars ($150,000.00).




                                                  Respectfully,

                                                  SWARTZ CULLETON PC



                                           By:
                                                  Bran<ron ~artz, Esquire
                                                  Matthew E. Gallagher, Esquire
                                                  54 7 E. Washington A venue
                                                  Newtown, PA 18940
                                                  T: (215) 550-6553
                                                  F: (215) 550-6557
                                                  bswartz@swartzculleton.com
                                                  mgallagher@swartzculleton.com
                                                  Attorneys for Plaintiff,
                                                  Michael Sobieski

Date: October 20, 2017
